                    Case 2:13-cv-00193 Document 775-23 Filed on 11/19/14 in TXSD Page 1 of 2
From                                    Coulehan   Maureen

To                                      Coleman    Ron Densmore    Kimberly

Sent                                    1022013    111203    AM
Subject                                 FW Voter ID grant



FYI



Maureen Coulehan               DAD Grants and Accounting
5124242351
5127718548          Cell




From MacBride          Cheryl

Sent Wednesday                 October   02 2013 1111 AM
To Coulehan Maureen
Subject FW Voter ID grant


fyi




Cheryl MacBride



Deputy    Director     Services

Texas Department of Public Safety
5805 N Lamar Blvd                I
                                     Austin   TX 787730130
T 512 424 2604             I
                               F 512 424 2527

Please   note   I   have a new email address                 cherylmacbridecdpstexas        gov




From Bodisch          Robert

Sent Wednesday                 October   02 2013 1107 AM
To Christopher Burnett
Cc Aimee Snoddy Judy Switzer MacGregor                       Stephenson   MacBride   Cheryl Peters Joe

Subject    RE       Voter ID grant



104 many thanks

Robert              Bodisch
Assistant       DirectorChief
Texas Homeland Security
Texas Department of Public Safety
P 0 Box 4087
Austin Texas 78773
5124242368
robertbodiscluadpstexas gov
robertbodischsleadhssgovgov

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                                                                                                                       exhibitsticker.com




                                                                                                         09/02/2014

                                                                                                         DEF1458



From Christopher               Burnett   maiIto christopherburnettgovernorstatetxus



                                                                                                                                            TEX0506962
                  Case 2:13-cv-00193 Document 775-23 Filed on 11/19/14 in TXSD Page 2 of 2
Sent Wednesday          October   02 2013 1105 AM
To Bodisch Robert
Cc Aimee Snoddy Judy Switzer MacGregor                  Stephenson

Subject Voter ID        grant



Duke


Just received     word from MacGregor           that   were a go on the grant up to $200K to         DPS for Voter ID equipment          Well
create the app     in   eGrants and you   all   will   need   to   complete   it   Get with Aimee and Judy on   the details   and well get this

thing   rolling




Christopher




                                                                                                                                         TEX0506963
